   Case: 1:18-cv-02312 Document #: 314 Filed: 07/11/21 Page 1 of 6 PageID #:6973




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTIRCT OF ILLINIOS
                                EASTERN DIVISION

  ARTURO DeLEON-REYES,                              )
                                                    )
               Plaintiff,                           )   1:18 Civ. 1028
                                                    )
               v.                                   )   Hon. Steven C. Seeger
                                                    )   District Judge
  REYNALDO GUEVARA, et al.,                         )
                                                    )   Magistrate Sunil R. Harjani
               Defendants.                          )
                                                    )


  GABRIEL SOLACHE,                                  )
                                                    )
               Plaintiff,                           )   1:18 Civ. 2312
                                                    )
               v.                                   )   Hon. Steven C. Seeger
                                                    )   District Judge
  CITY OF CHICAGO, et al.,                          )
                                                    )   Magistrate Sunil R. Harjani
               Defendants.                          )
                                                    )

          PLAINTIFFS’ MOTION FOR LEAVE TO SUPPLEMENT
THEIR RULE 26(a) DISCLOSURES AND TO ISSUE A DOCUMENTS SUBPOENA TO
   THE COOK COUNTY PUBLIC DEFENDER OFFICE OF INVESTIGATIONS

       Plaintiffs Gabriel Solache and Arturo Reyes ask this Court to enter an order granting them

leave to supplement their Rule 26(a) Disclosures after the close of most fact discovery in order to

disclose the names of three additional witnesses: former Assistant Public Defender (now Judge)

Bernard Sarley; former Assistant Public Defender Kevin Smith; and, on the part of Plaintiff

Solache, Staffing Network LLC employee Tim Ward. Plaintiffs also ask this Court to enter an

order granting them leave to issue a documents subpoena to the Office of Investigations of the

Cook County Public Defender. In support they state:




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   Case: 1:18-cv-02312 Document #: 314 Filed: 07/11/21 Page 2 of 6 PageID #:6974




       1.      This Court ordered on March 22, 2021, that “no witnesses can be added without

leave of court, and that includes the alleged unknown ‘additional’ witnesses.” [Reyes Dkt 411;

Solache Dkt 290; referring to the Joint Status Report at Reyes Dkt 409 and Solache Dkt 288].

       2.      Since the entry of that order, on June 11, 2021, counsel for the Assistant State’s

Attorney Defendants in Reyes produced, for the first time, the complete Felony Review File,

created on April 5, 1998, when ASA Defendants O’Malley, Navarro, Brualdi, Wehrle Dooley and

Varga went to Area 5 at the request of Defendants Guevara and Halvorsen to take handwritten

statements from Plaintiffs Reyes and Solache and others. [Ex. 1, CCSAO Supp. 1-18, at p. 18].

       3.      The complete Felony Review File consists of 18 pages and includes a handwritten

notation on the final page stating “Solache injuries.” Id. at 18. Based on this newly discovered

information, Plaintiffs’ counsel has been able to determine that a hearing occurred on April 6, 1998

in Branch 66, where then Cook County Assistant Public Defender (now Judge) Bernard Sarley,

who appeared on behalf of Plaintiffs Reyes and Solache, requested and obtained an order from the

court to permit an investigator from the Cook County Public Defender’s Office to enter the lockup

in Branch 66 and photograph injuries to Solache’s body.

       4.      The transcript of the April 6, 1998 Branch 66 hearing, which the court reporter

provided on July 9, contains the following exchange between Mr. Sarley and the court:

                       [MR. SARLEY:] Also on behalf of Gabriel Solache, I would
                       ask your Honor to sign an order permitting an
                       investigator from the Public Defender's Office to go
                       through the lockup in Branch 66 and photograph injuries
                       on his body. […]

                       THE COURT: All right, you have the order.
                       MR. SARLEY: Yes, your Honor. I'm showing it to
                       Counsel. Here it is, your Honor.
                       THE COURT: All right, nothing further. The
                       order will stand.
                       MR. SARLEY: Thank you, your Honor.

                                                 2
   Case: 1:18-cv-02312 Document #: 314 Filed: 07/11/21 Page 3 of 6 PageID #:6975




[Ex. 2, April 6, 1998 Transcript at p.9].

        5.      Based on the recent revelations in the Felony Review File and the April 6, 1998

transcript, Plaintiffs seek to add Mr. Sarley and Kevin Smith, who represented Adriana Mejia

during the hearing, to their Rule 26(a) Disclosures, as witnesses having potential knowledge of

events reflected in the transcript.

        6.      Plaintiffs are not seeking leave to depose Judge Sarley, or Messrs. Smith or Ward

at this time.

        7.      Also since this Court’s March 22, 2021 order, Plaintiff Solache learned for the first

time, on June 30, 2021, at the deposition of Monica Amaya, the representative chosen by Staffing

Network LLC to testify regarding authentication of Plaintiff Solache’s work records from March

of 1998, that Tim Ward, also of Staffing Network LLC, was employed by the company at or near

March of 1998, that Ms. Amaya consulted with him about the records, and that he is the Staffing

Network employee most familiar with the company’s record keeping in 1998.

        8.      Prior to filing this motion, Plaintiffs asked the City Defendants if they would agree

to the relief requested in this motion. Defendants responded as follows:

        The City Defendants object to each of the proposed disclosures listed below. With
        respect to Mr. Ward, Plaintiff had every opportunity to designate whoever he wanted
        from Staffing Network LLC, irrespective of the recent deposition of Ms. Amaya.
        Plaintiff has offered no explanation for not disclosing Mr. Ward earlier. Additionally, we
        do not agree that Ms. Amaya testified that Mr. Ward had knowledge of Staffing Network
        record keeping practices in 1998. With respect to Judge Sarley and Mr. Smith, both
        individuals represented Mr. Solache during his criminal case, thus they were known to
        him. Moreover, their names appear on various pleadings that have been in play since the
        outset of discovery in this case. The recent production of the Felony Review Folder does
        not explain why Plaintiff did not disclose his own lawyers earlier. Finally, to the extent
        MJ Harjani allows Plaintiff Solache to disclose any of these witnesses, Defendants seek
        leave to depose them.

        9.      With respect to Judge Sarley and Kevin Smith:



                                                  3
Case: 1:18-cv-02312 Document #: 314 Filed: 07/11/21 Page 4 of 6 PageID #:6976




         a. Since very recently receiving the Felony Review File and Branch 66

             transcript, Plaintiffs have learned that on April 6, 1998, Judge Sarley was

             appointed to represent Plaintiffs Solache and Reyes immediately following

             several days of physical and psychological abuse at the hands of the

             Defendants; and that immediately following, April 6, Murder Task Force and

             Multiple Defendant Unit assistant public defenders were assigned as their

             counsel. Thus, Judge Sarley was their counsel for the brief amount of time it

             took to fill 9 pages of transcript. [Ex. 2].

         b. Mr. Smith did not represent either Plaintiff Solache or Reyes during the

             criminal case.

         c. Regardless of the fact that Judge Sarley and Mr. Smith’s names may appear

             among the thousands of pages of documents exchanged in this matter, it was

             not until the production of Felony Review File and obtaining the Branch 66

             transcript that Plaintiffs had any way to know that either would be likely to

             have discoverable information that they would need to use to support their

             claims.

   10.   With respect to Mr. Ward, Ms. Amaya and Staffing Network LLC:

         a. In advance of the deposition, counsel for Plaintiff Solache provided Ms.

             Amaya with the documents Staffing Network LLC had produced in 1999 in

             response to the subpoena issued by Mr. Solache’s criminal defense attorney,

             indicating the need for authentication [Ex. 3, Solache 7299-7322].




                                             4
   Case: 1:18-cv-02312 Document #: 314 Filed: 07/11/21 Page 5 of 6 PageID #:6977




               b. Ms. Amaya was authorized by Staffing Network LLC to provide a declaration

                  dated April 1, 2021, which Plaintiff Solache produced to Defendants. [Ex. 4,

                  Amaya dep Exhibit 1].

               c. The corporation presented Ms. Amaya for her June 30 deposition as if she

                  were its Rule 30(b)(6) witness, as the Senior Compliance Specialist whose

                  duties and responsibilities include responding to subpoenas. She was

                  represented at the deposition by the corporation’s attorney.

               d. Plaintiff Solache had no control over who the corporation vested with

                  responsibility to appear.

               e. Plaintiff Solache did not know about Mr. Ward until Ms. Amaya testified at

                  her June 30 deposition about having consulted with him.

               f. At the criminal trial in 2000, the parties stipulated to the authenticity of these

                  same Staffing Network LLC records. [Ex. 5, Solache 6632-6634].

             11. The parties have identified and disclosed countless third-party witnesses over

                 the course of this litigation, deposing many of them and agreeing to remove

                 many others. All parties have worked diligently to navigate two different highly

                 complex fact-intensive cases amidst a global pandemic. Defendants have not

                 identified any cognizable way in which adding these three witnesses to

                 Plaintiffs’ disclosures will prejudice them.

       12.     Plaintiffs’ investigation since receiving the Branch 66 transcript on July 9, 2021,

has revealed that in 1998 the Office of Investigations within the Office of the Public Defender

was a repository for assistant public defender requests for investigations, which would include

requests for investigators to photograph clients’ injuries. Because Defendants’ documents



                                                 5
   Case: 1:18-cv-02312 Document #: 314 Filed: 07/11/21 Page 6 of 6 PageID #:6978




subpoena to the Office of the Public Defender [Ex. 6], did not specifically address or include the

Office of Investigations, Plaintiffs seek leave to issue a documents subpoena that specifically

requests all photos or other documentation of Plaintiff Solache’s and/or Plaintiff Reyes’ injuries

related to the order entered on April 6, 1998. [Ex. 7, proposed subpoena duces tecum].

       WHEREFORE, Plaintiffs ask this Court to enter an order granting them leave to

supplement their Rule 26(a) Disclosures to add witnesses Bernard Sarley, Kevin Smith, and Tim

Ward, and leave to issue a subpoena to the Office of Investigations of the Cook County Public

Defender.

Dated: July 11, 2021                         Respectfully submitted,

 /s/ Sean Starr                                      s/ Jan Susler______________
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                                                 6
